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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                             Civil Action No. 9:16-CV-81992-MARRA

   BRANDON LEIDEL, Individually,
   and on behalf of All Others Similarly Situated,
           Plaintiff,
   v.
   COINBASE, INC., a Delaware corporation
   d/b/a Global Digital Asset Exchange (GDAX),
         Defendant.
   ________________________________________________/



                DECLARATION OF JOHN D. KOTHANEK IN SUPPORT OF THE
         MOTION FOR SUMMARY JUDGMENT OF DEFENDANT COINBASE, INC.




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           I, John D. Kothanek, declare as follows:
           1.       I am the Senior Director of Global Investigations at Coinbase, Inc. (“Coinbase”).
   I have worked at Coinbase in investigations and compliance since March 2014.
           2.       I have personal knowledge of the facts set forth herein and the diligence
   conducted by Coinbase on the Coinbase accounts of Paul Vernon and Project Investors Inc. d/b/a
   Cryptsy (“Cryptsy”). If called as a witness, I could and would testify competently to these
   matters.
           3.       During the 2014-15 time period, I led the investigations team at Coinbase. In that
   role, I had regular contact with my team of investigators, and the investigators would regularly
   and in the ordinary course of business elevate issues to me for my consideration.
           4.       Although I and the members of the investigations team conducted diligence on the
   Coinbase accounts of Mr. Vernon and Cryptsy, I did not know the amount of the trading fee that
   Cryptsy charged its own customers. Nor, to my knowledge, did anyone at Coinbase. I also did
   not know – and, to my knowledge, no one else at Coinbase knew – whether Cryptsy charged its
   customers any fees other than, or in addition to, Cryptsy’s trading fee.
           5.       At no time prior to the closure of the Coinbase accounts of Mr. Vernon and
   Cryptsy did I know or suspect that, as alleged in the Complaint in this action, Mr. Vernon or
   Cryptsy was stealing from Cryptsy’s users or breaching any fiduciary duty owed to Cryptsy’s
   users. Nor, to my knowledge, did anyone at Coinbase. At no time did any Coinbase investigator
   ever tell me that they had learned or suspected that Mr. Vernon or Cryptsy was stealing from
   Cryptsy’s users or breaching any fiduciary duty owed to Cryptsy’s users. Given my position at
   Coinbase, the training provided to employees, and the overall culture of the company, I am
   confident that if any Coinbase employee had learned or suspected that Mr. Vernon or Cryptsy
   was stealing from Cryptsy’s users or breaching any fiduciary duty owed to Cryptsy’s users, that
   employee would have promptly brought that to my attention. No one ever did so.
           6.       Attached hereto as Exhibit 1 is a true and correct copy of a draft email I prepared
   in advance of an October 2015 meeting with Erin Coppin, then the Chief Compliance Officer of
   Coinbase. I understand this document was produced in this litigation as CB5425–CB5426.
           7.       A compliance report is a report generated from a computer database that
   maintains and stores information about user accounts in the ordinary and regular course of
   Coinbase’s business. The information in the database is updated by the system on a real-time, or


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   close to real-time, basis. I and others at Coinbase rely upon the accuracy of the information in
   the compliance reports generated by the database in the ordinary and regular course of our job
   duties.
             8.     Attached hereto as Exhibit 2 is a true and correct copy of excerpts of the
   compliance report for the Coinbase account of Mr. Vernon. I understand the excerpts in this
   document were produced in this litigation as a .CSV file with the filename CB5076.
             9.     Attached hereto as Exhibit 3 is a true and correct copy of excerpts of the
   Compliance Report for the Coinbase account of Cryptsy. I understand the excerpts in this
   document were produced in this litigation as a .CSV file with the filename CB5075.
             10.    Attached hereto as Exhibit 4 is a true and correct copy of excerpts of the
   Compliance Report for the Coinbase account of Mintsy. I understand the excerpts in this
   document were produced in this litigation as a .CSV file with the filename CB5074.
             11.    An account statement is generated from a computer database that maintains and
   stores information about accounts in the ordinary and regular course of Coinbase’s business.
   The information in the database is updated by the system on a real-time, or close to real-time,
   basis. I and others at Coinbase rely upon the accuracy of the information in the account
   statements generated by the database in the ordinary and regular course of our job duties.
             12.    Attached hereto as Exhibit 5 is a true and correct copy of the account statement
   for the Coinbase account of Mr. Vernon. I understand this document was produced in this
   litigation as CB212–CB245.
             13.    Attached hereto as Exhibit 6 is a true and correct copy of the account statement
   for the Coinbase account of Cryptsy. I understand this document was produced in this litigation
   as CB126–CB211.
             14.    The manual review log is generated from a computer database that maintains and
   stores information about accounts in the ordinary and regular course of Coinbase’s business.
   The information in the database is updated by the system on a real-time, or close to real-time,
   basis. I and others at Coinbase rely upon the accuracy of the information in the manual review
   log generated by the database in the ordinary and regular course of our job duties.
             15.    Attached hereto as Exhibit 7 is a true and correct copy of the manual review log
   for the Coinbase account of Mr. Vernon. I understand this document was produced in this
   litigation as CB5433–CB5440.


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            16.      Attached hereto as Exhibit 8 is a true and correct copy of the manual review log
   for the Coinbase account of Cryptsy. I understand this document was produced in this litigation
   as CB5428-CB5432.
            17.      The admin notes log contains information about accounts collected and entered by
   Coinbase employees on a real-time, or close to real-time, basis. Those notes are stored and
   maintained on a computer database in the ordinary and regular course of Coin base's business. I
   and others at Coinbase rely upon the accuracy of the information in the admin notes log in the
   ordinary and regular course of our job duties.
            18.      Attached hereto as Exhibit 9 is a true and correct copy of the admin notes log for
   the Coinbase account of Mr. Vernon. I understand this document was produced in this litigation
   as CB5083.
            19.      Attached hereto as Exhibit 10 is a true and correct copy of the admin notes log for
   the Coinbase account of Cryptsy. I understand this document was produced in this litigation as
   CB5081-CB5082.
            20.      Attached hereto as Exhibit 11 is a true and correct copy of emails, relating to the
   accounts of Mr. Vcrnon and Cryptsy, sent by and to Coinbase and Cryptsy employees. I
   understand these emails were produced in this litigation as CB5004-CB5029.
            21.      Attached hereto as Exhibits 12 and 13 are true and correct copies of documents
   that I received from Cryptsy on or about June 11, 2014. I was told that these documents were
   Cryptsy's original and revised AML Compliance Guides. I understand these documents were
   produced in this litigation as CB24-CB95 and CB5030-CB5066.
            I declare under penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct.
            Executed on this 27 1,h day o! June, 2019 in San Franc· co, California.



                                                                         John D. Kothanek




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